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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA
                                                     NOTICE
vs.
                                                     Case Number CR-08-62-D
D’ANGELO TYREE MCCORVEY                              USMS No. 17075-064



Type of Case                                        X       CRIMINAL


TAKE NOTICE

That a proceeding in this case has been scheduled for the place, date and time set forth below:


Place: U.S. Courthouse                                   DATE AND TIME
       Courtroom 301
       200 N.W. 4th Street                         AUGUST 10, 2020 at 2:00 p.m.
       Oklahoma City, Oklahoma 73102

All attorneys and other persons entering the U.S. Courthouse will be required to show valid
photo identification.


TYPE OF PROCEEDING                             HEARING ON SUPERVISED RELEASE
                                                       (not in custody)


TAKE NOTICE: that the proceeding below has been rescheduled as indicated below:


Place: U.S. Courthouse                               Date and Time Previously Scheduled
       200 N.W. 4th Street
       Oklahoma City, Oklahoma 73102


                                                     JUDGE TIMOTHY D. DeGIUSTI

                                                     by: /s/ Mike Bailey
                                                             Deputy Clerk
cc:    AUSA
       COUNSEL
       USMS
       USPO
